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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE

 DAVID ALAN COLE &
 KIMBERLY COLE,
                                                   Civil Action No.: ____________________
                 Plaintiffs,

 v.

 SIG SAUER INC.,

                 Defendant.


                         NOTICE OF REMOVAL OF CIVIL ACTION

         Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendant Sig Sauer, Inc. (“Sig Sauer”),

by and through its undersigned attorneys, hereby removes the state court action entitled David

Alan Cole & Kimberly Cole v. Sig Sauer Inc., bearing Case No. SOMSC-CV-23-27, from Maine’s

Superior Court of Somerset County to the United States District Court for the District of Maine,

and respectfully represents as follows:

                                 FACTUAL BACKGROUND

         1.     Plaintiff David Alan Cole, a detective with the Somerset County Sheriff’s

Department, claims that while executing a search warrant, his holstered, department-issued Sig

Sauer P320 pistol discharged without his hands on the pistol or trigger, striking him in his right

upper thigh, exiting through the same, penetrating his right calf, and reaching a terminus in his

right ankle. See Pl’s Compl. ¶¶139-147 (Ex. A). Mr. Cole alleges that these injuries required him

to undergo emergency surgery on his right leg, followed by a second surgery two days later See

Pl’s Compl. ¶¶148-49 (Ex. A).

         2.     Plaintiffs bring claims against Sig Sauer for: (1) negligence; (2) strict product

liability; (3) fraudulent concealment; (4) negligent failure to warn, (5) defective design or
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manufacture, (6) breach of implied warranty of merchantability, and (7) loss of consortium. See

Compl. ¶¶151-204 (Ex. A). Plaintiffs also seek punitive damages from Sig Sauer. See Compl.

¶¶205-206 (Ex. A).

                             PROCEDURAL BACKGROUND

       3.     Plaintiffs filed their Complaint in Maine’s Superior Court of Somerset County on

July 21, 2023. See generally, Pl’s Compl. (Ex. A).

       4.     Sig Sauer, by and through undersigned counsel, accepted service of the Complaint

by signing an Acknowledgement of Service on August 1, 2023. See Acknowledgement of Service

(Ex. B).

       5.     All exhibits—including all process, pleadings, and orders served on or by Sig Sauer

required by 28 U.S.C. § 1446(a)—are offered and attached as follows:

              EXHIBITS                             DESCRIPTION
                  A         Affidavit of Mark V. Franco, Esq.
                  B         Complaint
                  C         Acceptance of Service
                  D         Plaintiff’s Motion for Admission of Visiting Counsel
                            Pro Hac Vice for Michael T. Benz, Esq.
                  E         Plaintiff’s Motion for Admission of Visiting Counsel
                            Pro Hac Vice for Robert Zimmerman, Esq.
                     F      Plaintiff’s Motion for Admission of Visiting Counsel
                            Pro Hac Vice for Robert Mongeluzzi, Esq.
                  G         Plaintiff’s Motion for Admission of Visiting Counsel
                            Pro Hac Vice for Larry Bendesky, Esq.
                  H         Plaintiff’s Motion for Admission of Visiting Counsel
                            Pro Hac Vice for Ryan Hurd, Esq.
                     I      Certified Docket Record



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                                 DIVERSITY JURISDICTION


       6.      This Court has subject matter jurisdiction over this action and all claims asserted

against Sig Sauer pursuant to 28 U.S.C. § 1332(a) because Plaintiff and Sig Sauer are citizens of

different states and the amount in controversy exceeds $75,000, exclusive of interest and costs.

                        Complete Diversity Exists Between the Parties

       7.      Plaintiffs are citizens of the State of Maine. See Pl’s Compl. ¶¶2,5 (Ex. A).

       8.      Defendant Sig Sauer is a foreign corporation organized and existing under the laws

of the State of Delaware with its headquarters and principal place of business in New Hampshire.

Defendant Sig Sauer is thus a citizen of Delaware and New Hampshire. See 28 U.S.C. §

1332(c)(1).

       9.      All parties are thus citizens of different states.

       The Amount in Controversy Exceeds $75,000, Exclusive of Interest and Costs

       10.     Diversity jurisdiction requires that the amount in controversy exceed $75,000,

exclusive of interest and costs. 28 U.S.C. § 1332(a).

       11.     Plaintiff does not seek a specific amount of damages. However, “a defendant's

notice of removal need include only a plausible allegation that the amount in controversy exceeds

the jurisdictional threshold.” Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 89,

135 S. Ct. 547, 554, 190 L. Ed. 2d 495 (2014).

       12.     Here, Mr. Cole alleges that he sustained injuries requiring multiple surgeries and a

three-day hospital stay following those surgeries. See Pl’s Compl. ¶¶148-49 (Ex. A). He further

alleges that his injuries are of a “severe and permanent” nature. See Pl’s Compl., p. 31 (Ex. A).

Plaintiffs also seek to recover for their alleged “emotional distress, loss of consortium, economic

loss, and loss of enjoyment of life” as a result of Mr. Cole’s injuries. See Compl., p. 31 (Ex. A).

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Given the alleged severity and permanent nature of the plaintiff’s claimed injuries, the potential

for future medical expenses, and claims of emotional distress, loss of consortium, and loss of

enjoyment of life, the amount in controversy plausibly exceeds $75,000, as courts have held in

matters involving similar allegations. See, e.g., Stewart v. Tupperware Corp., 356 F.3d 335, 340

(1st Cir. 2004) (holding amount in controversy requirement was met where plaintiffs alleged

“physical injuries . . . that resulted in permanent impairment”); King v. York Golf & Tennis Club,

230 F. Supp. 2d 123, 125 (D. Me. 2002) (“with $33,000 in medical expenses and lost income and

a claim for pain and suffering and emotional . . . it is not possible to conclude to a legal certainty

that [plaintiff] could not recover more than $75,000 at trial”). Additionally, Plaintiffs seek to

recover punitive damages. See Compl. ¶¶205-206 (Ex. A). While Sig Sauer, of course, disputes

that it is liable in any amount to Plaintiffs and certainly denies any basis for the imposition of

punitive damages, punitive damage claims may be considered for purposes of determining the

amount in controversy. See, e.g., Mason v. Recover Together, Inc., No. 2:21-CV-00241-JDL, 2021

WL 5826272, at *3 (D. Me. Dec. 8, 2021) (“it is reasonable to project that the proposed amended

complaint's demand for front pay; lost benefits; prejudgment interest; compensatory damages and

punitive damages; interest; costs; expert witness fees; and attorney's fees puts the amount in

controversy in excess of $75,000) (emphasis added).

                                              VENUE

       13.     Venue properly rests in the United States District Court for the District of Maine

pursuant to 28 U.S.C. § 99 because it encompasses Somerset County, Maine, where this action

was originally filed.




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       14.     Pursuant to 28 U.S.C. § 1446(d), Sig Sauer is filing this Notice of Removal with

this Court, serving a copy upon Plaintiff’s counsel, and filing a copy in the Superior Court of

Somerset County.

                                 TIMELINESS OF REMOVAL

       15.     Service was completed on Sig Sauer on August 1, 2023, when Sig Sauer signed an

Acknowledgement of Service, so this Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b)

since it is being filed within thirty (30) days of service on Sig Sauer. See 28 U.S.C. § 1446(b)

(requiring that, in order to be timely, “[a] notice of removal must be filed within 30 days after the

defendant receives, through service or otherwise, a copy of the initial pleading setting forth the

claim for relief upon which such action or proceeding is based”).

       16.     Thus, this Notice of Removal is timely.

       WHEREFORE, Defendant Sig Sauer, Inc. respectfully requests that this Court assume

jurisdiction over the above-described action pending in Maine’s Superior Court of Somerset

County, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446.


                                              Respectfully submitted,



 Dated: August 23, 2023                        /s/ Mark V. Franco
                                               Mark V. Franco, Esq.
                                               DRUMMOND WOODSUM
                                               84 Marginal Way, Suite 600
                                               Portland, ME 04101-2480
                                               Tel: (207) 772-1941
                                               mfranco@dwmlaw.com
                                               Attorney for Defendant Sig Sauer, Inc.




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                                CERTIFICATE OF SERVICE


       I, Mark V. Franco, Esq., hereby certify that on this 23rd day of August, 2023, I filed the

foregoing with the Clerk of Court via email at MaineECFIntake@med.uscourts.gov. I also

certify that I made service of the foregoing, by depositing a true copy of same, on this date, in

the U.S. Mail, postage prepaid and via email to:

                                     Michael Bigos, Esq.
                                   Joseph G.E. Gousse, Esq.
                                       Berman Simmons
                                        P.O. Box 961
                                   Lewiston ME 04243-0961

                                    Robert Mongeluzzi, Esq.
                                    Robert Zimmerman, Esq.
                                      Larry Bendesky, Esq.
                                        Ryan Hurd, Esq.
                                       Michael Benz, Esq.
                              Saltz, Mongeluzzi & Bendesky, P.C.
                                  One Liberty Place, 52nd Floor
                                       1650 Market Street
                                     Philadelphia, PA 19103

                                Somerset County Superior Court
                                       47 Court Street
                                   Skowhegan, ME 04976



       Dated: August 23, 2023                         /s/ Mark V. Franco
                                                      Mark V. Franco, Esq.
                                                      DRUMMOND WOODSUM
                                                      84 Marginal Way, Suite 600
                                                      Portland, ME 04101-2480
                                                      Tel: (207) 772-1941
                                                      mfranco@dwmlaw.com
                                                      Attorney for Defendant Sig Sauer, Inc.




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